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 1   Counsel Listed on Signature Page
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 6                                     UNITED STATES DISTRICT COURT

 7                                  NORTHERN DISTRICT OF CALIFORNIA

 8                                             OAKLAND DIVISION

 9

10   IN RE: LITHIUM ION BATTERIES                               Case No. 4:13-md-02420-YGR
     ANTITRUST LITIGATION
11                                                              MDL No. 2420
12
                                                                INDIRECT PURCHASER PLAINTIFFS’
13   This Document Relates to:                                  JOINT PRELIMINARY STATEMENT
14                                                              Date:                April 3, 2013
     All Indirect Purchaser Plaintiff Actions                   Time:                2:00 p.m.
15                                                              Courtroom:           5
                                                                Judge:               Yvonne Gonzalez Rogers
16

17               As required by ¶ 3(c) of the Court’s March 4, 2013 Order Setting Initial Conference (Dkt.
18   No. 8), counsel for all Indirect Purchaser Plaintiffs (“IPP”) respectfully submit this Joint
19   Preliminary Statement.
20   I.          INDIRECT PURCHASER PLAINTIFFS’ PRELIMINARY UNDERSTANDING OF
                 THE FACTS.
21

22               Indirect Purchaser Plaintiffs allege a conspiracy to raise, stabilize, and maintain the prices
23   of “Lithium Ion Batteries” and “Lithium Ion Battery Products.” Lithium Ion Batteries are
24   rechargeable batteries that utilize lithium ion technology. Lithium Ion Battery Products include
25   cameras, notebook computers, mobile telephones, smartphones, power tools, personal digital
26   assistants, tablet computers, handheld game consoles, and other products that contain lithium ion
27   batteries. Plaintiffs allege that the conspiracy succeeded in maintaining prices of Lithium Ion
28   Batteries and Lithium Ion Battery Products above competitive levels, which caused Plaintiffs to
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 1   pay supra-competitive prices.
 2               Lithium Ion Batteries are considered secondary batteries, or rechargeable batteries. They
 3   possess certain unique performance qualities that make them the most popular form of
 4   rechargeable battery. These qualities include increased power, relatively small size and light
 5   weight, and absence of the “memory effect” that makes other types of rechargeable batteries such
 6   as nickel-cadmium or nickel-metal hydride batteries less desirable. Lithium Ion Batteries are not
 7   interchangeable with other secondary batteries. Lithium Ion Batteries are an important power
 8   source for various electronics products, including the Lithium Ion Battery Products identified
 9   above.
10               Defendants are the world’s largest Lithium Ion Battery manufacturers. Defendants and/or
11   their corporate affiliates have previously orchestrated and been convicted of some of the largest
12   price-fixing conspiracies in history involving related products – conspiracies that over the past 20
13   years artificially raised the prices of various electronics components such as computer chips, LCD
14   television and computer screens, and disk drives.
15               Lithium Ion Batteries first became commercially available in the early 1990s and, at that
16   time, were manufactured exclusively by two Japanese defendants – Sony and Panasonic.
17   However, in the late 1990’s, two Korean defendants – LG Chem and Samsung SDI – entered the
18   Lithium Ion Battery market and began to compete intensely with Sony and Panasonic. This
19   competition led to a dramatic decrease in Lithium Ion Battery prices. In or around the end of
20   2001-beginning of 2002, in order to arrest the price decline, the Defendants entered into the
21   alleged illegal conspiracy. This immediately halted the dramatic decrease in Lithium Ion Battery
22   prices, and throughout the remainder of the alleged class period, there began a period of
23   remarkable stability (with the exception of the Great Recession in 2008) for Lithium Ion Battery
24   prices.
25               Starting in May 2011, Defendants disclosed that the Antitrust Division of the U.S.
26   Department of Justice (“DOJ”) and the European Commission (“EC”) had initiated an
27   investigation for violation of competition laws against manufacturers of Lithium Ion Batteries.
28   The DOJ and the EC have subpoenaed documents from at least several Defendants in the course

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 1   of their investigation, and Defendants have disclosed that a grand jury is empanelled in the
 2   Northern District of California. It is widely believed that one defendant is cooperating with the
 3   government as an amnesty applicant pursuant to the Antitrust Criminal Penalties Enhancement
 4   Reform Act, (“ACPERA”), codified at 15 U.S.C. § 1 note.
 5               A.      Critical Factual and Legal Issues
 6               The following are some of the legal and factual issues that will arise in the Indirect
 7   Purchaser Plaintiff cases:
 8               •    Whether the Court has personal jurisdiction over certain Defendants;
 9               •    Whether Defendants’ alleged conduct constituted a per se violation of Section 1 of the
10                    Sherman Act and of state antitrust and consumer protection statutes;
11               •    Whether the amnesty applicant has complied fully and timely with its ACPERA
12                    obligations.
13               •    Whether IPPs have adequately pleaded causes of action for the violation of state and
14                    federal antitrust laws, and state consumer protection statutes, including under the
15                    pleading requirements set forth in Bell Atlantic Corp. vs. Twombly, 550 U.S. 544
16                    (2007) and its progeny;
17               •    Whether IPPs may maintain a class action against Defendants;
18               •    Whether the Foreign Trade Antitrust Improvements Act (“FTAIA”), 15 U.S.C. § 6a
19                    applies to any of the conduct at issue in this case;
20               •    Whether Defendants have been unjustly enriched by the alleged conspiracy; and
21               •    Whether IPPs are entitled to punitive, actual, and trebled statutory damages, costs,
22                    attorneys’ fees, pre- and post-judgment interest, declaratory relief, equitable relief, and
23                    any other relief provided for by federal and state law.
24   II.         LIST OF ALL PENDING MOTIONS
25               IPPs in the following five actions have Motions to Relate pending, filed in the first filed
26   case – Young, et al. v. LG Chem Ltd., et al., No. 4:12-cv-5129 (N.D. Cal.) (“Young Action”):
27   Alexandara Le (Dkt. No. 63); Matt Bryant (Dkt. No. 64); Spencer K. Hathaway (Dkt. No. 65);
28   Robert L. McGranahan (Dkt. No. 66); Patrick McGuiness (Dkt. No. 67); Petree (Dkt. No. 68);

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 1   Gallardo (Dkt. No. 69); and Tozer (Dkt. No. 71). There are no other prior or pending motions in
 2   any of the related cases.
 3   III.        LIST OF ALL RELATED CASES PENDING IN STATE OR FEDERAL COURT
                 AND THEIR CURRENT STATUS
 4

 5               IPPs believe all of the related IPP actions are federal actions and no state actions are
 6   currently pending. Attached as Exhibit A is a chart of all related federal IPP cases before this
 7   Court, including those awaiting relation or transfer from the JPML.
 8               Further, pursuant to certain consumer and/or antitrust state law procedures, one or more
 9   additional complaints are filed under seal, pending the decision of one or more state’s Attorney
10   General to intervene in this matter.
11               The Antitrust Division of the Department of Justice is conducting a criminal investigation
12   in the Northern District of California relating to IPPs allegations, and the European Commission
13   has also confirmed such an investigation.
14   IV.         INDIRECT PURCHASER PLAINTIFFS’ PROPOSED SCHEDULE
15               In the Young action, Plaintiffs and several Defendants stipulated to, and this Court
16   ordered, a schedule for the filing of Defendants’ responsive pleadings. (Stipulation and Order,
17   No. 12-5129, Dkt. No. 24.) The Stipulation and Order affords this extension to any named
18   Defendant that notifies Plaintiffs in writing of its intention to join the Stipulation and Order
19   without requiring further stipulation. Defendants in most actions have so elected.
20               Once Interim Class Counsel and/or a Plaintiffs’ Steering Committee (“PSC”) has been
21   appointed, the parties anticipate the filing of a Consolidated Amended Complaint. IPPs
22   respectfully suggest the following schedule:
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 1   Event                                              Date
 2   Initial Conference                                 April 3, 2013, 2 p.m.
 3   Deadline to submit applications for interim        March 28, 2013
     class counsel/membership in PSC
 4
     Rule 26(f) Conference among IPPs and               March 18, 2013; continued to within 21 days
 5   Defendants (including ESI preservation             following the April 3, 2013 conference
     protocol discussion)
 6
     Defendants advise Plaintiffs of issues             Within 20 days of the April 3, 2013 conference
 7   concerning misjoinder or personal jurisdiction
 8   Discovery – grand jury materials.                  14 days after appointment of interim class
     Defendants produce grand jury documents and        counsel
 9   information in the form produced to grand jury
10   Amnesty Applicant meet and confer with             Within 30 days after appointment of interim
     Plaintiffs for purpose of proffer and/or           class counsel
11   disclosures to Plaintiffs
12   Complaint                                          60 days following appointment of class
       Filing of IPP Consolidated Amended               counsel/PSC
13
       Complaint
14        Defendants’ Response to IPPs’                 60 days following filing of IPPs’ Consolidated
          Consolidated Amended Complaint                Amended Complaint
15
          IPPs’ Opposition to Defendants’ Motion(s) 60 days following filing of Rule 12 Motions
16        to Dismiss (to the extent defendants elect
17        to move to dismiss and not answer)
          Defendants’ Reply Memorandum in               30 days following submission of IPPs’
18        Support of Motion to Dismiss                  opposition to motion to dismiss
19        Hearing on Rule 12 Motions                    To be set by Court
20   Class Certification: Dates contingent on
     Court ordering and Defendants adhering to          September 18, 2014
21   the dates proposed above.
22        Motion Filed with Expert Reports
          Defendants’ Expert Disclosures                October 18, 2014
23
          Defendants’ Opposition Expert Reports         November 18, 2014
24
          Plaintiffs’ Reply and Rebuttal Reports        January 31, 2015
25
          Discovery Period for Experts                  September 19, 2014 – January 31, 2015
26        Hearing                                       February 15, 2015
27   Discovery Cutoff                                   May 15, 2015
28   Trial Date

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 1   V.          JURISDICTION AND SERVICE
 2               The Court has subject matter jurisdiction over the related cases on the basis of federal

 3   question jurisdiction, 28 U.S.C. §§ 1331, 1337, and/or diversity jurisdiction pursuant to the Class

 4   Action Fairness Act, 28 U.S.C. § 1332(d).

 5               IPPs served or secured service waivers from each Defendant located in the United States,

 6   and initiated the process of translating the complaints and effecting service via the Hague Service

 7   Convention on all foreign Defendants.

 8               Further service efforts should be halted pending the organization of Plaintiffs’ Counsel

 9   and the filing of a Consolidated Amended Complaint.

10               Counsel for Indirect and Direct Purchaser Plaintiffs and Defendants met on March 18,

11   2013 in San Francisco to discuss the topics the Court listed in its March 4 Order. At that meeting,

12   Plaintiffs asked that any Defendant which believes it (a) has been mis-joined or (b) will assert a

13   defense of lack of subject matter and/or personal jurisdiction or failure of service to identify itself

14   so the parties may try to resolve the issue promptly and without motion practice. Plaintiffs asked

15   that Defendants inform Plaintiffs of these issues within 15 days, so that Plaintiffs may attempt to

16   resolve these issues efficiently and with a minimal amount of expense and burden for all parties

17   prior to the filing of a consolidated amended complaint. Defendants responded that any

18   individual defendant that will raise issues concerning misjoinder or personal jurisdiction will do

19   so within 20 days of the April 3 conference and contact Plaintiffs individually to attempt to

20   resolve them.

21   VI.         EVIDENCE PRESERVATION
22               Plaintiffs have adhered to this Court’s requirement regarding the preservation of records

23   as set forth in paragraph 4(d) of the March 4, 2013 Order, and have proposed an initial conference

24   with Defendants to reach agreement on an ESI protocol. Defendants have agreed to consider this

25   proposal. Defendants also noted that each Defendant is differently situated, and thus

26   individualized negotiations will be necessary.

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 1   VII.        DISCOVERY CONFERENCE AND DISCLOSURES
 2               On March 18, 2013, consistent with the Order, the parties met and conferred to discuss a

 3   proposed discovery plan pursuant to Rule 26(f) and a suggested schedule under Rule 16(b) for the

 4   joinder of parties, amendment of pleadings, consideration of any class action allegations, motions,

 5   and trial. See generally Standing Order for All Judges of the N. Dist. of Cal. (Nov. 27, 2012);

 6   Guidelines for the Discovery of Electronically Stored Information.

 7               Plaintiffs requested that Defendants produce all documents produced to the Grand Jury

 8   and the DOJ within 14 days of the March 18 meeting (April 3) and that Defendants provide Rule

 9   26(f) disclosures identifying the custodians for whom documents had been produced to the DOJ

10   and those custodians’ supervisors. Plaintiffs offered to forgo serving any discovery requests until

11   they had reviewed those documents and disclosures. Plaintiffs offered to accept all documents in

12   whatever format they exist and subject to any confidentiality designation Defendants choose.

13               Defendants have made clear that prior to the Court upholding the Consolidated Amended

14   Complaint, they refuse to address any substantive or scheduling issues concerning discovery,

15   contrary to Rule 26, this Court’s Local Civil Rules, the ESI Guidelines, and what Plaintiffs

16   understand this Court’s March 4 Order to require.

17               Defendants refuse to produce any documents that they provided to the DOJ, and claim that

18   the identity of the custodians whose documents were produced to the DOJ is “attorney work

19   product.” Defendants said their Discovery Plan is no discovery until after the Court rules on any

20   Rule 12 motions, although Defendants said they would consider serving Rule 26(a)(1) Initial

21   Disclosures after Plaintiffs file Consolidated Amended Complaints.

22               The parties did agree to meet and confer on a protective order.

23   VIII. LIST OF AFFILIATED COMPANIES AND COUNSEL
24               Pursuant to ¶ 3(d) of the Order Setting Initial Conference, Exhibit B is a list of companies

25   affiliated with the parties. Further, a list of all counsel associated in the litigation appears on the

26   signature lines below.

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 1   IX.         ADDITIONAL TOPICS INCLUDED ON EXHIBIT A TO MARCH 4 ORDER
 2               A.     Areas of Agreement
 3                      1.      Creation of Master Docket
 4               The parties agree that it is most efficient if all documents are filed electronically in a

 5   single master docket, Case No. 4:13-MD-02420-YGR. In the event parties file opt out (also

 6   called “direct action”) cases, the Court may determine it will be efficient if parties file documents

 7   both in their individual case and in the master docket. See, e.g., In Re: TFT-LCD (Flat Panel)

 8   Antitrust Litig., Case No. M 07-1827-SI, slip op, (N.D. Cal. Oct. 15, 2012) (attached as Exhibit

 9   C.)

10                      2.      Discovery Served by Email
11               The parties agree that all discovery and discovery responses shall be served by email with

12   no need to serve paper copies. The parties request the Court order that Federal Rule of Civil

13   Procedure 6(d) will not apply.

14               B.     Other Topics
15                      1.      Referring Discovery to Magistrate Judge
16               IPPs believe it is appropriate at this early stage in the litigation to present any discovery

17   issues to a Magistrate Judge.

18                      2.      Appointment of Plaintiffs’ Liaison, Lead, Trial Counsel, Steering
                                Committee; Maintaining Time and Expense Reports.
19

20               IPPs, through their counsel, have had numerous discussions regarding which firms the

21   Court should consider appointing to lead the litigation. To date, no agreement has been reached.

22   Counsel wish to discuss with the Court at the April 3 conference its guidance regarding the

23   appointment of interim lead or co-lead counsel, liaison counsel, and the duties and membership of

24   the Plaintiffs’ Steering Committee.

25               IPPs’ counsel agree that monthly time and expense reporting is necessary. Maintaining

26   and auditing such reports should be the responsibility of interim lead or liaison counsel.

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 1                      3.      ADR
 2               IPPs, pursuant to the Court’s agenda item, advised Defendants that they are willing to

 3   engage in early mediation alternative dispute resolution. Defendants declined.

 4
     Dated: March 28, 2013                                 Respectfully submitted,1
 5

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      The individuals shown next to “/s/” below provided their concurrence in the filing of this
     document. N.D. Cal. L.R. 5-1(e)(3).
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     cv-00761                                          00339
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     Chem, Ltd., et al., No. 12-5159
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16                                                      et al., No. 13-CV-0397 (N.D. Cal.)
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27                                                      (N.D. Cal.) (relation pending)

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12   et al., No. 3:13-cv-708 (N.D. Cal.);
     McGranahan v. LG Chem, LTD., et al., No.
13   13-CV-975 (N.D. Cal.); Hathaway v. LG
     Chem, LTD., et al., No. 13-CV-926 (N.D.
14   Cal.); Bryant v. LG Chem, LTD., et al., No. 12-
     CV-5129 (N.D. Cal.); McGuinness v. LG
15   Chem, LTD., et al., No. 13-CV-929 (N.D. Cal.)
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28

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12   415/217-3820 (fax)                                No. 3:12-cv-02531 (S.D. Cal.); David Shawn
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13                                                     No. 2:12-cv-06793 (D.N.J.); Turner et al. v.
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14   Chem America, Inc. et al., No. 12-6118            cv-02658 (S.D. Cal.); Doyle v. LG Chem
                                                       America, Inc., et al., Case No. 2:12-cv-07633
15                                                     (D.N.J.); Sclar v. LG Chem America, Inc., et
                                                       al., Case No. 2:13-cv-00592 (D.N.J.)
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 1                                                 EXHIBIT A
 2                              Related Federal IPP Cases Pending in N.D. Cal.
                 (as of March 28, 2013, including those pending relation or transfer from MDL)
 3

 4   Young v. LG Chem Ltd., et al.,                        Cohen v. LG Chem, Ltd. et al., No. 3:13-cv-761
 5   No. 4:12-cv-5129 (N.D. Cal.)                          (N.D. Cal.)

 6   Hanlon v. LG Chem, Ltd., et al.,                      Russo et al v. LG Chem, Ltd. et al., No. 3:12-
     No. 4:12-cv-5159 (N.D. Cal.)                          cv-2505 (S.D. Cal.)
 7
     Katz-Lacabe v. Hitachi Ltd., et al.,                  Miller et al v. LG Chem, Ltd. et al., No. 3:12-
 8
     No. 4:12-cv-5681 (N.D. Cal.)                          cv-2531 (S.D. Cal.)
 9
     Pham et al v. Hitachi Maxell Ltd. et al.,             Van Patten v. LG Chem, Ltd. et al., No. 3:12-
10   No. 4:12-cv-5938 (N.D. Cal.)                          cv-2615 (S.D. Cal.)

11   Powers v. LG Chem America, Inc. et al.,               Turner et al v. LG Chem, Ltd. et al., No. 3:12-
     No. 3:12-cv-6118 (N.D. Cal.)                          cv-2658 (S.D. Cal.)
12

13   Martinez v. LG Chem., Ltd., et al.,                   Batey v. LG Chem America, Inc. et al., No.
     No. 4:12-cv-6151 (N.D. Cal.)                          2:12-cv-6555 (D.N.J.)
14
     Johns v. Hitachi Ltd. et al.,                         A-1 Computers, Inc. v. LG Chem, Ltd. et al.,
15   No. 3:12-cv-6152 (N.D. Cal.)                          No. 2:12-cv-6581 (D.N.J.)
16
     D’Orazio v. LG Chem., Ltd., et al.,                   Shawn et al v. LG Chem America, Inc. et al.,
17   No. 3:12-cv-6173 (N.D. Cal.)                          No. 2:12-cv-6793 (D.N.J.)

18   Rojanasathit v. Samsung SDI America, Inc. et          Doyle v. LG Chem America et al., No. 2:12-cv-
     al., No. 3:12-cv-6183 (N.D. Cal.)                     7633 (D.N.J.)
19

20   Levy v. LG Chem, Ltd., et al., No. 3:12-cv-6446 Cohen et al v. LG Chem America, Inc. et al.,
     (N.D. Cal.)                                     No. 2:12-cv-7793 (D.N.J.)
21
     Bugge v. LG Chem, Ltd et al., No. 3:12-cv-            Conover et al. v. LG Chem America, Inc. et al.,
22   6492 (N.D. Cal.)                                      No. 2:13-cv-190 (D.N.J.)
23   Marcus v. LG Chem et al., No. 4:13-cv-339             Molfetas v. LG Chem Ltd. et al., No. 2:13-cv-
24   (N.D. Cal.)                                           541 (D.N.J.)

25   Lepore v. LG Chem, Ltd., et al., No. 3:13-cv-         Tuohy v. LG Chem, Ltd. et al., No. 2:13-cv-557
     361 (N.D. Cal.)                                       (D.N.J.)
26
     Tozer v. LG Chem Ltd., et al., No. 3:13-cv-397        Sclar v. LG Chem America, Inc. et al., No.
27   (N.D. Cal.)                                           2:13-cv-592 (D.N.J.)
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 1   Cabral et al v. Hitachi Maxwell, Ltd. et al, No.   Thompson et al v. Toshiba Corporation et al.,
     3:13-cv-686 (N.D. Cal.)                            No. 1:12-cv-12419 (D. Mass.)
 2

 3   Tolchin v. LG Chem, LTD. et al., No. 3:13-cv-      Billingsley v, L.G. Chem America, et al., No.
     700 (N.D. Cal.)                                    2:12-cv-06973 (D.N.J.)
 4
     Le v. LG Chem, Ltd. et al., No. 3:13-cv-708        O'Daniel v. LG Chem, Ltd., et al., No. 4:13-cv-
 5   (N.D. Cal.)                                        00182 (W.D. Mo.)
 6
     Yee v. LG Chem, LTD. et al., No. 3:13-cv-703       McGranahan v. LG Chem, LTD., et al., No. 13-
 7   (N.D. Cal.)                                        CV-975 (N.D. Cal.)

 8   Hathaway v. LG Chem, LTD., et al., No. 13-         Bryant v. LG Chem, LTD., et al., No. 12-CV-
     CV-926 (N.D. Cal.)                                 5129 (N.D. Cal.)
 9
     McGuinness v. LG Chem, LTD., et al., No. 13-       Petree v. LG Chem, Ltd, et al., Case No: 3:13-
10
     CV-929 (N.D. Cal.)                                 CV-0976 (N.D. Cal.)
11
     Galardo v. LG Chem, Ltd., et al., No. 13-cv-       Lincoln v. LG Chem, Ltd., et al., No. 13-cv-
12   1030 (N.D. Cal.)                                   1131 (N.D. Cal.)
13   Hernandez v. LG Chem, Ltd., et al., No. 13-cv-     Ames v. LG Chem, Ltd., et al., No. 13-cv-1194
     1189 (N.D. Cal.)                                   (N.D. Cal.)
14

15   Jawor v. LG Chem, Ltd., et al., No. 13-cv-1166     Juncaj et al. v. LG Chem, Ltd et al., No. C 13-
     (N.D. Cal.)                                        01379 JSC (N.D. Cal.)
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 1                                          EXHIBIT B
 2               List of Companies Associated with Indirect Purchaser Plaintiffs
 3   None.
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                      INDIRECT PURCHASER PLAINTIFFS’ JOINT PRELIMINARY STATEMENT
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 1                                                ATTESTATION
 2
                 Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence
 3
     in the filing of this document has been obtained from signatories indicated with an “/s/” above.
 4

 5
     Dated: March 28, 2013                     By:                /s/ Eric B. Fastiff
 6
                                                                  Eric B. Fastiff
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